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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ART AKIANE LLC,                                        Case No. 19-cv-02952
           Plaintiff,
                                                        Judge Edmond E. Chang
 v.
                                                        Mag. Judge Jeffrey Cole
 ART & SOULWORKS LLC,
 CAROL CORNELIUSON,
           Defendants.

       JOINT MOTION FOR EXTENSION OF TIME FOR EXPERT DISCOVERY

       Plaintiff Art Akiane, LLC (“Art Akiane”), together with Defendants Art & SoulWorks,

LLC and Carol Corneliuson (collectively “ASW”), jointly move this Court for an extension of the

expert discovery deadline to July 29, 2022. In support thereof, the parties state as follows:

       1.      The Court had previously extended the expert discovery deadline to July 1, 2022

by agreement of the parties, and the parties agreed on internal deadlines for affirmative deposition

dates, rebuttal expert reports, and rebuttal expert depositions dates.

       2.      The parties exchanged affirmative expert reports on April 8, 2022.

       3.      However, due to scheduling conflicts among the various experts/expected rebuttal

experts and their respective counsel relating to deposition dates, it is necessary to extend the expert

discovery deadline one month further to accommodate the experts’ schedules.

       4.      The parties have agreed on new deposition dates for the experts and their respective

counsel, and jointly request an extension of the expert discovery deadline to July 29, 2022.

       5.      There will be no prejudice to any party by virtue of the extension requested, as no

further dates have been set in the case. Additionally, the parties do not anticipate needing any

further extensions at this time.

       WHEREFORE, the parties respectfully request that this Court extend the expert discovery
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deadline in this matter up to and including July 29, 2022.

Dated: April 21, 2022                      Respectfully submitted,


Art & SoulWorks LLC and Carol              ART AKIANE LLC, Akiane Gallery and Akiane
Corneliuson                                Kramarik

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Counsel for Defendants ASW & Carol             Counsel for Plaintiff Art Akiane, LLC, Akiane
Corneliuson                                    Gallery and Akaine Kramarik
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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 21, 2022 the foregoing was filed with the Clerk of Court via

CM/ECF, which provided notice of same to all parties who have made an appearance in this case.


                                                    /s/ Kehinde Durowade
